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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                                              10/18/2020
        -against-

ANTONIO NIKC,                                                   No. 20-CR-173 (NSR)

                               Defendant.                              ORDER


NELSON S. ROMÁN, United States District Judge:

       A review of the docket reveals that on March 3, 2020, Defendant Antonio Nikc was charged in

a one count Felony Information with violating 26 U.S.C. § 7201, Tax Evasion. Following his

arraignment, the Defendant pled guilty before Magistrate Judge Lisa Margaret to the sole count in the

information in accordance with a non-binding written plea agreement and the Defendant was released

on a $100,000 bond. The Defendant is currently scheduled to be sentenced on October 22, 2020.

       In light of the Defendant’s medical condition which includes high blood pressure and high

cholesterol, the ongoing Coronavirus Disease 2019 (“COVID-19”) pandemic, and in order to comply

with social distancing protocols and the directives provided by the Chief Judge of the United States

District Court for the Southern District of New York to limit in-person court appearances due to the

risk presented by COVID-19, it is the Court’s determination that in order to prevent serious harm to

the interest of justice, Defendant Antonio Nikc can and should be permitted to be sentenced by video

teleconference or by telephone conference pursuant to the CARES Act § 15002(b)(2)(A).

       Accordingly, it is hereby ORDERED that the Defendant’s sentencing hearing scheduled for

October 22, 2020 is to be conducted by video teleconference or by telephone conference (if video

conference is unavailable) before this Court.

       Prior to the video teleconference or telephone conference, Defendant’s counsel shall either

obtain from Defendant a written or oral waiver of appearance and consent for counsel to proceed
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telephonically or video-telephonically either with or without Defendant present by telephone or video.

If counsel cannot obtain a written waiver from Defendant, counsel must provide an affidavit

confirming counsel has obtained Defendant’s consent. The affidavit must establish that counsel: (1)

consulted with Defendant regarding his right to be present at all conferences, (2) discussed with

Defendant the current public health emergency created by the COVID-19 pandemic and the

restrictions to courthouse access that have been implemented as a result, and (3) obtained Defendant’s

consent to willingly and voluntarily give up his right to be present at conferences for the period of time

in which access to the courthouse has been restricted on account of the COVID-19 pandemic.1 The

affidavit shall be e-filed with the Court no later than one (1) day before the scheduled teleconference.

        In preparation for and while engaging in the video teleconference or telephone conference,

please follow these guidelines:

        1. Use a landline whenever possible.

        2. Use a headset rather than speakerphone.

        3. Identify yourself each time you speak.

        4. Be mindful that, unlike in a courtroom setting, interrupting can render both speakers

unintelligible.

        5. Mute when not speaking to eliminate background noise, i.e., dog barking, kids playing,

sirens, paper shuffling, emails pinging, drinking, and breathing. It all comes through. This will also

prevent interruptions.

        6. Avoid voice-activated systems that don’t allow the speaker to know when someone else is

trying to speak and they cut off the beginning of words.

        7. Spell proper names.

        8. Have judge, or courtroom deputy, confirm reporter is on the line.


1       Please see the attached sample form as a reference.
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         9. If someone hears beeps or musical chimes, that means someone has either entered or exited

the conference. Please be aware that the judge may need to clarify that the report has not lost the line.

(This has happened before, and the reporter had to dial back in and tell the judge the last thing that the

court reporter transcribed.)




Dated:    October 18, 2020                                  SO ORDERED:
          White Plains, New York


                                                ________________________________
                                                       NELSON S. ROMÁN
                                                     United States District Judge
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____     Conference

         I have been charged in an indictment with violations of federal law. I understand that I have a right to be
         present at all conferences concerning this indictment that are held by a judge in the Southern District of
         New York, unless the conference involves only a question of law. I understand that at these conferences
         the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
         be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
         excluded in setting the time by which the trial must occur. I have discussed these issues with my attorney
         and wish to give up my right to be present at the conferences. By signing this document, I wish to advise
         the court that I willingly give up my right to be present at the conferences in my case for the period of time
         in which access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that
         my attorney be permitted to represent my interests at the proceedings even though I will not be present.



Date:             ____________________________
                  Signature of Defendant


                  ____________________________
                  Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence.
I will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of
the proceedings, if requested.

Date:             ____________________________
                  Signature of Defense Counsel


                  ____________________________
                  Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:             _________________________
                  Signature of Defense Counsel




Accepted:         ________________________
                  Signature of Judge
                  Date:
                                                          2
